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IN THE UNITED STATES BANKRUPTCY COURT Dy Ep £
FOR THE NORTHERN DISTRICT OF ILLINOIS he O VO iy ee d
EASTERN DIVISION Wy 7 % “oe
. 4
In Re: Agé Oy, My “na key
) Case No, 04-B-24393 Se"
VICKI E. ESRALEW ) Chapter 7 "Oe X,
) “aK
Debtor. }
ROLLIN J. SOSKIN, EUGENE )
TERRY, NICOLE TERRY and )
TERRY’S COMPANY, INC. )
Plaintiffs, )
) .
Vs. ) Adversary Proceeding
) No.
)
ee . ESRALEW, ROBERT )
d NEIL A. REISMAN, )
3S ) A 03 d " 4
= Defendants. )
ADVERSARY COMPLAINT

MOW COME the Plaintiffs, Rollin J. Soskin, Eugene Terry, Nicole Terry and Terry’s

TH S, GARDNER
TATES BANKRUPT

eety Inc., by and through their attorney, Thomas C. Crooks, and file this Adversary Complaint

pinta to 11 U.S.C. §523 against the Defendants, Vicki E. Esralew (hereinafter "Esralew"), Robert

' Aren (hereinafter “Aren”) and Neil A. Reisman, (hereinafter “Reisman”) and in support thereof state

as follows:
1. Esralew filed a Petition under Chapter 7 of the Bankruptcy Code on June 29, 2004.
2. Aren is and, at all relevant times hereto, was the husband of Esralew. Aren has not
joined in the bankruptcy petition filed by Esralew.
3. Reisman is a former officer of Vickilew, Inc. (hereinafter “Vickilew”).
4. At the time of filing, Esralew and Aren were indebted to Plaintiffs pursuant to a

certain Memorandum of Agreement (hereinafter “Agreement”) entered into by the parties on
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November 22, 1998. The Agreement was modified in part by a letter agreement dated February 24,

1999. A copy of such Agreement along with a copy of the modification letter of February 24, 1999
is attached hereto as Group Exhibit A.

5. At the time of entering into the Agreement Esralew and Aren informed Soskin and the
Terrys that they had sought and received independent legal advice. Prior to entering into the
Agreement Esralew and Aren proposed changes to the Agreement based upon advice from legal
counsel.

6. After Soskin filed suit to enforce the Agreement Esralew and Aren claimed that they
had been represented by Soskin relative to entering into the Agreement and that the Agreement was
void due to a purported conflict of interest, notwithstanding a signed aiver of any conflict on the part
of Soskin contained within the Agreement

7.. Pursuant to the Agreement, Soskin became a member of Kids Count Entertainment,
L.L.C. (hereinafter “the L.L.C.”), a limited liability corporation 92% of which is owned by Esralew
and Aren. Pursuant to the Agreement Soskin had certain ownership and management rights relative
to the L.L.C.

8. Pursuant to the Agreement Eugene Terry, Nicole Terry and Terry’s Company, Inc.
(hereinafter “The Terrys”) loaned in EXCESS of $200,000.00 to the L.L.C., took a security interest in
the inventory, receivables and other assets of the L.L.C. and retained an option to convert the debt
into as much as 10% of the L.L.C. | Pursuant to the Agreement the Terrys also had certain
management rights relative to the L.L.C. . .

9. The Terrys made appropriate U.C.C. filings with the State of Ilinois formalizing their

security interest in the inventory, receivables and other assets of the L.L.C. (see attached Exhibt C).
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10. Pursuant to Section 9.4 of the Operating Agreement of the L.L.C. (hereinafter
“Operating Agreement”), the secretary of the L.L.C. is required to send to each member monthly
financial reports prepared by the L.L.C. and an annual compilation report prepared by independent
accountants. To date, no such reports have been received by Soskin,

11.‘ Pursuant to Section 9.2 of the Operating Agreement, Soskin is entitled to examine the
financial and business records of the L.L.C.

12. A written request for such examination has been submitted to Esralew, as the L.L.C.’s
registered agent. A copy of such request is attached hereto as Exhibit B.

- 13. To date such request has not been honored, nor has a reply been received.

14. Pursuant to Paragraph 12 of the Agreement, the parties to the Agreement were to meet
not less often than every fourteen days to review various financial data.

- 45. - From and after May of 1999, Defendants have refused to communicate directly with
- Soskin or with the other parties of the Agreement, or to provide any information whatsoever about
the activities of the L.L.C. or of Esralew.

16. Sometime after May of 1999 Esralew and, upon information and belief, Aren, created
or participated in the creation of an internet web site through which products owned, created and/or
developed by the L.L.C. or are based on ideas and concepts owned by the L.L.C. and/or the creative
efforts of Esralew, which were exclusively promised to the LLC, are offered for sale to the public.

17. Upon information and belief, defendants Esralew and Aren have and continue to
engage in other marketing strategies in order to sell products which were owned, created and/or
developed by the L.L.C. or are based on ideas and concepts owned by the L.L.C. and/or the creative

efforts of Esralew, which were exclusively promised to the L.L.C.

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18. Upon information and belief Esralew and Aren have created one or more new
business entities in order to sell said products through the web site and through other means, without
sharing the revenues with the L.L.C.

19. Esralew and Aren, sometime in or after May of 1999, created or participated in the
creation of a website, namely Vickilew.com, in order to market and sell products which were owned,
created and/or developed by the L.L.C. or are based on ideas and concepts owned by the L.L.C. and
the creative efforts of Esralew, which were exclusively promised to the L.L.C.

20. Esralew and Aren, sometime in or after May of 1999, created the business entity

- Vickilew, Inc., a Delaware corporation, (hereinafter “Vickilew”) for the purpose of selling products

_which were owned, created and/or developed by the L.L.C. or are based on ideas and concepts
owned by the L.L.C. and the creative efforts of Esralew, which were exclusively promised to the
L.L.C.

21. Sometime after May of 1999 Esralew and Aren, secretly and without notice to Soskin
or the Terrys, transferred substantially all the assets of the L.L.C. to Vickilew, including inventory,
receivables, good will, intellectual property and Esralew’s creative services.

22. Following the transfer of assets to Vickilew, Vickilew made a private offering in an
attempt to attract more investors and raise $4,000,000.00.. Upon information and belief, Vickilew
raised a substantial amount of money which was to Esralew’s benefit and to the detriment of Soskin
and the Terrys.

23.  Theproducts being sold, as alleged in paragraphs 16 through 20, are the property of
the L.L.C, and, pursuant to the parties’ agreement, Soskin has a right to share in the income derived .

from the sale of products and concepts owned by the LLC. The Terrys have a right to receive
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payments against their loans from any of the inventories sold and receivables received, s a result of
their security interest.

24. . Soskin and the Terrys have fulfilled all of their promises and obligations under the
parties’ written Agreement and provided all of the consideration required of them under the parties’
Agreement.

25. Esralew and Aren willingly accepted and personally benefited from the consideration
provided by Soskin and the Terrys.

26.  Esralew and, upon information and belief, Aren have breached the parties agreement
as specified in paragraphs 13 through 23 as well as in the following ways:

(a) By providing Esralew’s creative efforts and activities to business entities other
than the L.L.C. in violation of paragraph 18 of the Agreement;

(b) . By making disbursements in excess of $2,000.00 from Kids Count
Entertainment, L.L.C.’s bank account without the requisite signatures in violation of
paragraph 3 of the Agreement;

_ (ce) © By failing to deposit all receipts of the L.L.C. into its bank account at the

LaSalle Bank in violation of paragraph 3 of the Agreement;

(d} — Byrefusing to permit Soskin and the Terrys to participate in the management
of the L.L.C. in violation of paragraphs 9 and 12 of the agreement;

{e) By failing to pay to Soskin his share of the revenues from any and all of the
defendant entities in which plaintiff owns a percentage share;

(f) By failing to pay the Terrys the proceeds from the sale of inventory and

receivables over which the Terrys hold a security interest;
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(g) By accepting all of the consideration provided by Soskin and then denying Soskin’s

ownership interest in the L.L.C.;
(h) —_ upon information and belief, in other ways as yet unknown to the Soskin and the

Terrys.

27. Esralew and Aren did not intend to honor the Agreement at the time they entered into

it, but, rather, executed the agreement in bad faith in order to induce Soskin and the Terrys to provide

services and invest money.

28. + Defendants engaged in the following fraudulent, deceitful and bad faith acts relative

to the Agreement:

(a) — Esralew and Aren told Soskin and the Terrys prior to the execution of the
Agreement that they needed money quickly in order to produce television and radio
commercials and get them on the air for the Christmas shopping period. In fact, defendants
knew prior to the execution of the Agreement that it was already too late to put together an
effective advertising campaign for the Christmas shopping period;

(b) | Defendants engaged in the deception described in paragraph 28(a) in order to
induce Soskin and the Terrys into entering into the Agreement and thus providing cash to the
L.L.C. which benefited Esralew and Aren who were drawing salaries;

(c) (Within days of exeeuting the Agreement defendants began to withhold
information from Soskin and the Tenrys relative to the business. Within days of executing
the Agreement Esralew instructed the L L Cc.’ s smedia buyer, Robert Blagman, not to provide
information to Soskin and the Terrys concerning potential new investors which Esralew and

Aren were seeking and other business information which Soskin and the Terrys had a right to
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receive under the Agreement.

(d) Esralew and Aren willfully refused to take steps required of them under the
Operating Agreement to perfect Soskin’s and the Terry’s interest in the L.L.C., although
affirmative action was required of them under the L.L.C. Operationg Agreement.

(e) — Esralew and Aren willfully withheld the L.L.C. Operating Agreement from
Soskin and the Terrys at the time the Agreement was being negotiated and for a substantial .
- time after execution of the Agreement in order to prevent Soskin and the Terrys from
complying with any requirements of the Operating Agreement which might be necessary to
perfect their interest.
29, Soskin and the Terrys are informed and believe that defendants have engaged in other |
acts of deception and bad faith relative to these transactions.

COUNT I
(11 U.S.C. §523(a)(2)(A))

30. Soskin and the Terrys allege paragraphs 1-29 as paragraphs 1-29 of Count
1 of the Complaint.

31. When Esralew and Aren entered into the Agreement they had no intention of keeping
the promises made in the Agreement, but, rather, made the promises in order to induce Soskin into
providing management and legal services to the LLC. at no charge, as well as to induce the Terrys
into loaning large sums of money to the LLC. which Esralew and Aren had no intention of

32. Thedebts owed to Soskin and the Tenys should not be discharged pursuant 11 U.S.C.
$523(a)(2)(A). : S

WHEREFORE, the Plaintiffs, Soskin and the Terrys, respectfully request that this Court

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enter an Order as follows:

(a) . providing that the debts owed to Soskin and the Terrys by Esralew not be
discharged pursuant to 11 U.S.C. §523(a)(2)(A);

(b) that a judgment be entered against Aren and Esralew and in favor of Soskin in an
amount to be determined by this Court in excess of $50,000.00;

(c}) that a judgment be entered against Aren and Esralew and in favor of the Terrys in

_an amount to be determined by this Court in excess of $50,000.00;
(d) _—_ and for all other relief this Court deems just and necessary.

COUNT II
(11 U.S.C. §523(2)(2)(A))

33. | Soskin and the Terrys allege paragraphs 1-32 as paragraphs 1-32 of Count
II of the Complaint.

34. On or about March 23, 2004, without notice to Soskin or the Terrys, Esralew and
Aren transferred all of the assets of Vickilew to Rally Capital Services, Inc. in order to effectuate a
purported assignment for the benefit of creditors. The assets transferred included assets in which
Soskin had an ownership interest and the Terrys had a security interest, pursuant to the Agreement.

35. | Onor about March 24, 2004 notice was purportedly sent to all of Vickilew, Inc.’s
creditors informing them that all assets would be auctioned on April 13, 2004. Soskin was not given
actual notice of this auction despite his claims against Esralew, Aren and Vickilew which were
contained in a lawsuit then pending in Lake County Circuit Court, namely, Soskin v, Kids Count
Entertainment, Inc. et al., no. 01 CH 1269, in which Vickilew was anamed defendant represented by
counsel of record.

36. The Terrys were also not given actual notice of the auction on April 13, 2004 despite
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the fact that the Terrys had a security interest in the property being auctioned and a pending action
seeking damages then pending in Lake County Circuit Court, namely Eugene Terry, et al., v. Kids
Count Entertainment, Inc., et al., no. 03 CH 1769.

37. On March 15, 2004, in anticipation of the purported sale for the benefit of creditors,
Reisman, Vice-President—Finance and Chief Administrative Officer, resigned his position with
Vickilew.

38. | Upon information and belief, Reisman purchased the assets of Vickilew on or about
April 13, 2004 for $100,000.00 pursuant to an agreed plan between Reisman, Esralew and Aren.

‘The $100.000.00 was inadequate consideration for the assets received.

39. After Reisman purchased Vickilew’s assets he hired Esralew as an employee and, in

effect, continued to operate Vickilew, under a different name, with all of Vickilew’s debts having
been erased by the purported assignment for the benefit of creditors. The purported assignment for
the benefit of creditors was a sham instituted in order to erase debt and continue the same business..

40. Upon information and belief, as part of the agreed plan Reisman, Esralew and Aren
agreed not to give actual notice of the purported assignment for the benefit of creditors to Soskin and
the Terrys so that neither Soskin nor the Terrys could contest the assignment or appear on the date of
the auction and bid against Reisman for Vickilew’s assets.

41. Reisman, Esralew and Aren provided a list of creditors to Rally Capital, who
managed the sale, and intentionally left Soskin and the Terrys off the list in order to prevent plaintiffs
from receiving notice.

42, Asaresult of the above, the assignment for the benefit of creditors has worked a fraud

against Soskin and the Terrys.
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43, Thedebts owed to Soskin and the Terrys should not be discharged pursuant 11 U.S.C.

§523(a)(2)(A).

WHEREFORE, the Plaintiffs, Soskin and the Terrys, respectfully requests that this Court
enter an Order as follows: .

(a) _—~providing that the debts owed to Soskin and the Terrys by Esralew not be
discharged pursuant to 11 USC. §523(a)(2)(A);

(b) that a judgment be entered against Aren, Esralew and Reisman in favor of Soskin
in an amount to be determined by this court in excess of $50,000.00;

(c) that a judgment be entered against Aren, Esralew and Reisman in favor of the
Terrys in an amount to be determined by this court in excess of $50,000.00;

(d} _ and for all other relief this Court deems just and necessary.

COUNT Hl
(11 U.S.C. §523(a)(4))

44. — Soskin and the Terrys allege paragraphs 1-43 as paragraphs 1-43 of Count

III of the Complaint.

45. _ Atall relevant times hereto defendants Esralew and Aren, by law and pursuant to the
Agreement, owed fiduciary duties to Soskin and the Terrys as to the manner in which Esralew and
Aren operated the L.L.C.

46. Defendants breached their fiduciary duties to the plaintiff as described in
paragraphs10 through 17. oe

47. Asaresult of the breach of the fiduciary duties described above, plaintiffs have been

damaged through the loss of income and the devaluation of the entity Kids Count Entertainment,

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L.L.C.

48. | The debts owed to Soskin and the Terrys should not be discharged pursuant 11 U.S.C.
§523(a)(4).

WHEREFORE, the Plaintiffs, Soskin and the Terrys, respectfully requests that this Court
enter an Order as follows:

(a) _— providing that the debts owed to Soskin and the Terrys by Esralew not be
discharged pursuant to 11 U.S.C. §523(a)(4);

‘(b} ~——stthat a judgment be entered against Aren and Esralew and in favor of Soskin in an
amount to be determined by this Court in excess of $50,000.00;

(c) that a judgment be entered against Aren and Esralew and in favor of the Terrys in
an amount to be determined by this Court in excess of $50,000.00;

(d) _—_and for all other relief this Court deems just and necessary.

COUNT IV
(11 U.S.C. §523(a)(6))

49,  Soskin and the Terrys allege paragraphs 1-48 as paragraphs 1-48 of Count

IV of the Complaint.

50.  Theactions of Esralew and Aren as described above were willfully and maliciously
taken i in order to avoid the payment of valid debts owed to Soskin and the Terrys, to deny Soskin his
_ ownership rights in the L.L.C., and ease the Teny s security interest in the L.L.C.’s assets.
$1. Thedebts owed to Soskin and the Terrys should not be discharged pursuant 11 U.S.C.
§523(a}(6). | .
WHEREFORE, the Plaintiffs, Soskin and the Terrys, respectfully requests that this Court

enter an Order as follows:

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(a) providing that the debts owed to Soskin and the Terrys by Esralew not be
discharged pursuant to 11 U.S.C. §523(a)(4);

(b) that a judgment be entered against Aren and Esralew and in favor of Soskin in an
amount to be determined by this Court in excess of $50,000.00;

(c) that a judgment be entered against Aren and Esralew and in favor of the Terrys in
an amount to be determined by this Court in excess of $50,000.00;

(d) _ and for all other relief this Court deems just and necessary.

Respectfully submitted,

Ld

Thomas C. Crooks,
. Attorney for Plaintiff

Thomas C. Crooks

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MEMORANDUM OF AGREEMENT

Vicki Esralew, Robert Aren (hereinafter collectively referred to as "Esralew),
Eugene Terry, Nicole Terry and Terry's Company, Inc. (hereinafter collectively referred
to as "Terry’), Rollin J. Soskin (hereinafter referred to as "Soskin"), and Kids Count
Entertainment, Inc. and Kids Count Entertainment, L.L.C. (hereinafter collectively
referred to as "Kids Count") have agreed as follows:

1. Terry will invest $200,000 to $250,000 as December, 1998 through
February, 1999 cash flow shall require. Terry's Company, Inc. may purchase the new
inventory and sell it to Kids Count as ordered, at a price that provides a 10% per
annum return on the funds invested in inventory. The balance of the investment by
Terry will be a loan to Kids Count at the rate of 10% interest. A financing statement will
be filed with the Secretary of State in order to provide protection under the Uniform
Commercial Code with respect to Terry's investment, secured by the assets of Kids.
Count. The primary purpose of Terry's investment is to fund creation of commercials,
purchase of air time and manufacture of required inventory.

2. In addition to the investment described in paragraph 1, Terry will deposit
the sum of $27,000 into a bank account in the name of Kids Count. This portion of -
Terry's investment (the “receivable loan”) is in the form of a purchase from Kids Count
of certain receivables due from Discovery Toys - $12,855 scheduled to be received in
December, and $14,145 of the $18,000 scheduled to be received in February.
Immediately upon receipt, the instruments of payment of such amounts, or any portion
Gy thereof, shall be immediately SRE ver to Terry without deposit by Kids Count. The
original invoices for the aforementioned Discovery Toy invoices shall be marked

Qs “ASSIGNED TO EUGENE TERRY’ and delivered to Soskin to hold.

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Ww 3. . Anew bank account at LaSalle Bank shall be created in the name of Kids

Count Entertainment, L.L.C. into which Terry shall deposit the receivable loan and that
partion of his investment which will be treated as a loan to the Kids Count.
Disbursements in excess of $2,000 from such account shall be made only upon two
signatures as follows: one signature to be either Eugene Terry, Nicole Terry, or Roilin
J. Soskin; and one signature to be either Vicki Esralew or Robert Aren. All receipts of
Kids Count, regardless of source, shall be deposited into such bank account. .

4. It is anticipated that the receivable loan from Terry and collections from
December sales will be sufficient to cover overhead. From such amounts, Esraléw |
shail be entitled to withdraw from Kids Count a sum not to exceed $12,000 per month,
which may be taken, in Esralew's sole discretion, as salary or repayment of the loans to
Kids Count previously made by Esralew or Aren, or in any combination thereof,

‘provided that the total of gross compensation and loan repayment shall not exceed

$12,000 per month. a
- PLAINTIFF'S :
EXT.

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MEMORANDUM OF AGREEMENT - page 2

5. From the receivable loan and subsequent sales, Kids Count shall pay to
Soskin a sum not to exceed $4,000 per month which Soskin may have paid as salary or
as legal fees to his law firm, in his sole discretion. To the extent not taken ina
particular month, the sums payable to Esralew and Soskin shall accrue and be payable,

if and when cash flow allows.

6. As part of the consideration for Terry's loan, Terry shall have a five (5)
year option to purchase ten (10%) percent of Kids Count Entertainment, L.L.C. fora
price of $250,000. This sum may be paid by cash and/or cancellation of the Terry's
loans to the company. For this purpose, the unpaid portion of Terry's investment in
inventory may be treated as part of Terry's loan upon transfer of any unpurchased
inventory to the Kids Count. In the event of a refinancing in excess of two million
dollars or recapitalization of Kids Count with new value in excess of two million dollars —
Kids Count may demand that Terry exercise or waive his option within ninety (90) days
of notice.

7. + As part of the consideration to Terry and to Soskin, Soskin shall
immediately receive a one (1%) percent interest in Kids Count Entertainment, L.L.C.
and shall have a five (5) year option to purchase eight (8%) percent of Kids Count .
Entertainment, L.L.C. for the sum of $200,000. In the event of a refinancing in excess
of two million dollars or recapitalization of Kids Count with new value in excess of two
million dollars Kids Count may demand that Soskin exercise or waive his option within
ninety (90) days of notice.

8, In addition to the interest and the option granted to Soskin above, Soskin
shall immediately receive a gne (1%) percent interest as incentive and in lieu of fees for
services to Kids Count, whether as attorney, employee, or otherwise, in excess of the

- agreed upon $4,000 per month set forth in paragraph 5 above, for the period from

December 1, 1998 through such time as the salaries and compensation of Esralew and
Soskin are reviewed, based upon company performance, but in no event shall such
period of "free excess" services by Soskin extend beyond May 31, 1999. Itis
understood and agreed that Soskin will not work exclusively for Kids Count and has
other business interests, including a law practice. Soskin shall not be required to

. spend in excess of sixty (60) hours per month during such period without additional

compensation. ,

9. It is agreed that any of the following actions shall require the unanimous
consent of Esralew, Terry and Soskin:

¥ (a) incurring of any new debt beyond normal trade payables;

(b) issuance of any new stock or security or other interest convertible
in to an ownership interest in Kids Count;
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(c) sale or transfer of any interest in Kids Count owned by Esralew or
Aren to anyone other than-Esralew, Aren, Soskin or Terry or to
Kids Count, without first offering such interest to Terry and Soskin
upon the same terms and conditions as are offerred by any
proposed transferee.

10. inthe event of any sale or transfer by Kids Count or Esralew of any
shares in Kids Count Entertainment, Inc. or Kids Count Entertainment, L.L.C., which
results in Esralew owning less than 51% of Kids Count, Terry and Soskin shall have the
right to "tag along” on a pro-rata basis at a price equal to the price at which Esralew’s
shares or interest are sold, and Esralew shall have the right to “bring-along" Terry and
Soskin on a pro-rata basis at a price equal to the price at which Esralew's shares or

- interest are sold. .

11. | Each party hereto has made such investigation of the facts and

circumstances and the condition of Kids Count and of the other parties, and has

engaged such attorneys, accountants, or-other professionals as they have determined
in their own discretion to be necessary or prudent in the circumstances. Esralew,
Terry, and Kids Count all hereby waive any actual or apparent conflict of interest
resulting from the participation of Soskin in bringing Esralew, Aren and Kids Count
together with the Terrys, or from the services of Soskin to, by or in regard to Kids
Count, Terry and Esralew, or any of them, and from the representations made by any of
the partiews hereto to the others in order to induce them to enter into this agreement,
and after due consideration, the parties agree to hold Soskin harmless and idemnified
against any and all loss, cost and damages, including reasonable attorney's fees,
resulting from any claims that Soskin represented one party or the other or was subject
to a conflict of interest as between any of the parties to this agreement, or that any
party made any material misrepresentation with respect to the transactions herein
contemplated. .

12. The parties agree to meet not ess often than every fourteen (14) days to
review sales, inventory levels, cash position and other data relevant to Kids Count.

13. The parties agree that because time is short and the investment of Terry .
is essential to Kids Count's chances of success, in large part as a result of the desire to
have commercials on the air in time to take advantage of the Christmas gift season, this
transaction is being documented by this simple memorandum rather than by all of the
legal documents which this agreement contemplates. The parties agree to enter into
shareholder's agreements, option agreements, and other contracts and legal
documents as may be necessary or customary, containing the provisions which are set
forth herein (in addition to any other items as to which the parties may agree). The
parties agree to attempt to complete all such documentation by February 28, 1999.
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MEMORANDUM OF AGREEMENT - page 4

14. The parties agree that the operating agreement of the timited liability
company shall also be amended to refiect the provisions hereof, and it is agreed that
_ Soskin, Esralew, Aren, and either of the Terrys shall be directors of Kids Count. In the
event that Robert Leeper should be made a director, both of the Terrys shail be
directors.

15. Esralew and Kids Count represent that the ownership of Kids Count
Entertainment, L.L.C. is as follows: Robert Leeper - five (5%) percent; Harris
Associates - one (1%) percent; Kids Count Entertainment, inc. - ninety-four (94%) (Kids
Count Entertainment, Inc. is owned 100% by Esralew and/or trusts for their children). —
Esralew and Kids Count represent that after this Memorandum of Agreement is Signed, —
the ownership of Kids Count Entertainment, L.L.C. will be as follows: ‘Harris Associates
- one (1%) percent; Robert Leeper - five (5%) percent; Rollin J. Soskin - two (2%)
percent; and Kids Count Entertainment, Inc. - ninety-two (92%), subject to the rights of
Terry and Soskin to acquire the additional percentages set forth herein from Kids Count
Entertainment, inc., from Esralew, or from Kids Count Entertainment, L.L.C.

16. Esralew and Kids Count represent that the total debt (principal) of Kids
Count Entertainment consists of the following: Jim Terra - $75,000; Harris Bank -
$150,000; First National Bank - $73,933.34; Hudsucker Partners (Irving Harris) -
$325,000; Vicki Esralew - $196.445; Feels Good Partners - $50,000; Steve Santowski -
$75,000; Foley & Lardner - $18,000; Citibank Visa - $9,600 (credit card used
exclusively for Kids Count expenses; Miscellaneous trade payables - $33,000 (includes
$15,000 to Auitschuler, Melvoin & Glasser). Oo

17. Esralew and Kids Count represent and warrant that the financial
statements prepared as of October 20, 1998 are substantially true and correct except
as to the status of Santowski as a shareholder.

18. Absent subsequent agreement to the contrary, Vicki Esralew agrees that
all of her persona! services, appearances, creative efforts, activities and products shall
be performed and or created for the exclusive benefit of Kids Count. .

19. itis understood and agreed that neither Soskin nor Terry shall be
personaily liable for any debts of Kids Count or any personal debts of Esralew.
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MEMORANDUM OF AGREEMENT - page 5

19. ‘Acceptance by Esralew, Aren and Kids Count of the benefit of the services
the receipt of other benefits from Terry

of Soskin and/or of the deposit of funds and/or
shall constitute their acceptance of all of the foregoing terms.

WHEREFORE, the parties have set their hands this LL day of November,

1998.

Kids Count Ent rtainment, inc.

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Kids Count Ent tainment, L.L.C.

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Vicki Es?atew, Ménager
" Robert Aren

Vicki Esfalew
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@ Terry | Nicole Terry

Roifin J. Soskin
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Law OFFICES or
_ ROLLIN J. SOSKIN & ASSOCIATES
9933 LAWLER AVENUE ¢ Suite 312
SKOKIE, ILLINGIS 60077-3703
Fax (647) 674-8938
TELEPHONE (847) 329-9991

nae ee

February 24, 1999

"Mr. and Mrs. ugene Tarry Mr, and Mrs. Robert wer

Suite-214 | ‘ Long Grove, Winols ¢ joow. Os
- High! d Bat, Hlinois 60035-2669 :

486 Ceftral Avene 5” _ 1785 Gourityy Club Drive; af
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Re: Waiver of Agreement Terms - Kids Courit

Dear Nicole, ¢ Gene, Vicki and Bob:

As you are aware, Paragraphs 13 and 14 of our Agreement of November: 22,
> (998, providdd, in pertinent part, that we would.enter inte more forrhal documentatidn
of our rélationship by February 28, 1999. Based on cur recent discussions, and the.
fact that we dre endeavoring to bring in additional equity participants, it.is my
understanding that we have agreed to put off the expense and time involved in .
preparing and reviewing such documents, until such time as we are more certain |
about the structure of Kids Count as it goes forward with other strategic partners.
Based theredn, it is my understanding that we all agree to enter into such documents
in the future, ‘while waiving any requirement of our existing Agreement that such;
documents be completed in the short run.

Qn & [ lated topic. since the direct response TW campaign hes not been. f
generating i conje las quickly as had been hoped, the Terryg haveibeen financing | ‘

Company's gohtinued existence by purchasing its receivables. ‘tt id ny understanding
artid agree, notwithstanding any specific document! askighing’each nee |
le,” that all receivables now belong to the Terrys or Terry's Company

applicable, and as they are collected ara to be tumed: over in partial satistaction of Ihe
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’ receivables Serena: by the Company subsequent to the receivables which have

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Mr. and:Mrs. Gene Terty

Mr. and:Mrs. Robert Aren

February 24, i 999 - Page 2.
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Ifthe dbove accurately sets forth Our understanding and agreement, please so

indicate iby signing the acknowledgement at the bottom of this letter and retuming the

same tome ih the self-addressed envelop,

Vety truly yours,
beet . ollin J. Soskin
Pos : SO, Voy a
emp
: | Acknowledgement’ Pe F frtp

The above accurately sets forth our understanding and agresm ent and
represents a valid modification to the Agreement dated November 22, 1998.

Ay —

Weed Zs

nclosed herewith for your convenience!

Dated: Febrdey— __, 19909
| Vicki Esralew

Robert Aren :

Nicole Terry '

oem . : ’
, Eugens Teny i;

Rollin J. Soskin

’ Kids Count Entertainment, Inc. and.
’ Kids Count Entertainment, LLC.

By: , —} |

Icki Esrdlew, as President and
as Manager, respectively

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ot . _ LAW OFFICES OF
. ROLLIN J. SOSKIN & ASSOCIATES
oo : 9933 LAWLER AVENUE © SUITE 312
SKOKIE; ILLINOIS 60077-3703
FAX (847) 674-8938
TELEPHONE (847) 329-9991

February 24, 1999

Mr. and Mrs. Eugene Terry _ Mr. and Mrs. Robert Aren

450 Central Avenue 1735 Country Club Drive __
Suite 214 | Long Grove, Illinois 60047,

Highland Park, illinois 60035-2659

Re: Waiver of Agreement Terms - Kids Count -

*

_ Dear Nicole, Gene, Vicki and Bob:

As you.are aware, Paragraphs 13 and 14 of our Agreement of November 22,
1998, provided, in pertinent part, that we would enter into more formal documentation —
of our relationship by February 28, 1999. Based-on our recent discussions, and the
fact that we are endeavoring to bring in additional equity participants, it is my
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._Based thereon, it is my understanding that we all agree to enter into such documents
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On a related topic, since the direct response TV campaign has not been .

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. that all parties agree, notwithstanding any specific document assigning each new
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"a

Mr. and Mrs. Gene Terry
Mr. and Mrs. Robert Aren
February 24, 1999 - Page 2.

If the above accurately sets forth our understanding and agreement, please So
indicate by signing the acknowledgement at the bottom of this letter and retuming the
same to me in the self-addressed envelope sraclosed herewith for your convenience.

truly yours,

Rollin J. Soskin
RJS/mt
Acknowledgement

The above accurately sets forth our understanding and agreement and
represents a valid modification to the Agreement dated November 22, 1998.

Dated: February , 1999

Vicki Esralew
February , 1999 ,
oo ' Robert Aren .
February____, 1999 . betzie-Re. kam,
Nicole Terry :
- February _-_, 1999 nk (my

(CRugene Terry

February __, 1999 ,
TG Rollin, J. Soskin

February, 1999 Kids Count Entertainment, Inc. and
Kids Count Entertainment, L.L.C.

«By.

Vicki Esralew, as President and
as Manager, respectively -
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‘ _ Law Offices Of
Rolin Soskin & Associates
Rollin J. Soskin.

Rachel A. Rupp

August 13, 2001

Ms. Vicki Esralew
Registered Agent, Kids Count Entertainment L.L. C.

1735 Country Club Drive
Long Grove, Illinois 60047

Re: Kids Count Entertainment, L.L.C.

Dear Ms. Esralew:

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As a member of the above-captioned organization, ! wish to examine the financial
and organizational records. Please contact the undersigned immediately to schedule a
mutually convenient: time to review these documents within: the next ten (10) days.

RJS:kbs

Aren/ArenEsra8-13-04 oO PLAINTIFF'S -
| EXHIBIT

9933 Lawier Avenue « Sulte 312 « Skokie, Iincls 60077-3706 + telephone (847) 929-9991 * facsimile (847) 329-9998 |
e-mail: RISOSKINASSOC@AOL.COM e-mail: RRUPPSOSKINASSOC@AOL.COM
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